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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION




GABRIEL DADZIE,
718 Westside Drive
Gaithersburg, Montgomery County, MD
20878
                                                         Civil Action No.: ___________


Plaintiff,


v.


UNITED STATES OF AMERICA,


Serve: Erek L. Barron
       United States Attorney
       District of Maryland
       36 S. Charles Street, 4th Floor
       Baltimore, MD 21201



Serve: Merrick Garland
       United States Attorney General
       U.S. Department of Justice
       950 Pennsylvania Avenue, NW
       Washington, D.C. 20530-0001



                                         COMPLAINT

        The Plaintiff, Gabriel Dadzie, by counsel, for his Complaint against United States of

America, appears before this Court and respectfully states as follows:


                                     Jurisdiction and Venue




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1.     This Court has subject matter jurisdiction over this matter pursuant to Public Vessels Act,

46 U.S.C. § 31101, et seq.; Suits in Admiralty Act, 46 U.S.C. § 30901, et seq.; Merchant Marine

Act of 1920, commonly called the Jones Act, 46 U.S.C. § 30104; 28 U.S.C. § 1331; and 28

U.S.C. § 1333.

2.     Pursuant to Public Vessels Act, 46 U.S.C. § 31104 and Suits in Admiralty Act, 46 U.S.C.

§ 30906, venue is proper given the fact the vessel involved in this action is found within this

district and the Plaintiff lives within this district. The Plaintiff, Gabriel Dadzie (“Plaintiff” or

“Mr. Dadzie”), is a resident of the City of Gaithersburg, Montgomery County, Maryland.

                                  General Factual Allegations


3.     United States of America (“Defendant” or “U.S.A.”) is a sovereign state which consented

to be sued pursuant to 46 U.S.C. § 30901, et seq., and 46 U.S.C. § 31101, et seq.

4.     On or about December 1, 2021 and at all times relevant to this action, the Defendant

U.S.A. owned the public vessel SS ANTARES (the “Vessel”).

5.     At all times relevant to this action, the SS ANTARES was and is at berth in the City of

Baltimore, Maryland.

6.     On or about December 1, 2021, Tote Services, Inc. (“Tote Services”) was ship manager

of the Vessel pursuant to a binding contract with U.S.A. and, thus, at all times relevant to this

action Tote Services acted as agent on behalf of U.S.A.

7.     On or about December 1, 2021, Mr. Dadzie was employed by Tote Services, on behalf of

U.S.A., as a seaman and a member of the crew of the Vessel.

8.     On or about December 1, 2021, the Defendant U.S.A. by and through its agents, servants,

and/or employees, controlled the Vessel.

9.     On or about December 1, 2021, U.S.A. operated the Vessel.


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10.     At all times relevant to this action, U.S.A. was responsible for the acts and omissions of

its agents, servants, and/or employees, including the agents, servants, and/or employees of Tote

Services.

11.     On or about December 1, 2021, while in the performance of his duties in the service of

the Vessel, Mr. Dadzie suffered serious personal injury.

12.     Generally, Mr. Dadzie and other seamen were ordered to assist in the lifting of the hatch

on the aft cargo hold, which had to be done manually with the use of the deck crane.

13.     During the process, the master link which connects the crane hook jumped off the crane

hook and flew across the vessel, striking Plaintiff directly in the head (hereinafter the

“Incident”).

14.     All of the above described actions occurred while the Plaintiff was in the performance of

his duties under orders and in the service of the Vessel.

15.     At all times the U.S.A. was responsible for the actions of its employees and of the

conditions aboard the Vessel.

16.     Prior to and at the time he suffered injury, the Plaintiff exercised due care for his own

safety and well-being.

17.     On April 29, 2022, with regard to the incident and injury suffered by Mr. Dadzie, Plaintiff

properly presented to the Division of Marine Insurance for the United States Maritime

Administration (MARAD) and to its ship manager, Totes Services, a formal administrative claim

that complied with all requirements of law.

18.     The administrative claim was hand delivered to and received by MARAD on May 9,

2022.




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19.      In accordance with law, a copy of the administrative claim was mailed to and received by

Tote Services, Inc. via registered mail.

20.      More than sixty (60) days have elapsed since MARAD, on behalf of U.S.A., received the

administrative claim without denial of the claim. Further, the parties have not resolved the

claim.

                                         COUNT I
                               JONES ACT NEGLIGENCE CLAIM


21.      The Plaintiff reiterates the allegations set forth in all paragraphs written above.

22.      The personal injury suffered by the Plaintiff was not caused by any fault on his part but

was caused by the negligence of Defendant United States of America, its manager, agents,

servants and/or employees and/or Tote Services, Inc., its agents, servants and/or employees.

23.      Defendant is responsible for the actions of its agents in the delegation of its duty to

provide appropriate medical care to Plaintiff.

24.      The Defendant was negligent in the following ways:

                (a)     Defendant failed to provide a safe place in which to work;

                (b)     Defendant failed to comply with its own policies and procedures;

                (c)     Defendant failed to operate the ship properly;

                (d)     Defendant failed to warn plaintiff of a potentially dangerous condition;

                (e)     Defendant failed to train employees in safe work practices;

                (f)     Defendant failed to maintain the ship properly;

                (g)     Defendant failed to inspect the vessel to ensure it was sound and

                        seaworthy;

                (h)     Defendant failed to provide a competent crew;



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               (i)     Defendant failed to provide adequate medical care; and

               (j)     Other particulars to be shown at the trial of this case.

25.    As a result of the incident which is the basis of this claim, the Plaintiff suffered injury and

suffered and continues to suffer great pain of body and anguish of mind, inconvenience,

embarrassment, humiliation, anxiety and emotional distress; incurred and continues to incur

medical expenses; lost time and wages from his usual work and pursuits and continues to suffer

such losses; suffered permanent loss of earning capacity; and suffered and will continue to suffer

other damages as will be shown at trial.

26.    This cause of action is brought under the Merchant Marine Act of 1920, 46 U.S.C.

§30104, commonly called the Jones Act.

                                    COUNT II
                     GENERAL MARITIME LAW – UNSEAWORTHINESS


27.    The Plaintiff reiterates the allegations written in all paragraphs set forth above.

28.    The injury suffered by the Plaintiff was due to no fault of his but was caused by the

unseaworthiness of the Vessel.

29.    The Vessel was unseaworthy because equipment provided on the Vessel was not fit for

the purpose for which it was intended and was unsafe as a result.

30.    The Vessel further was unseaworthy because the Defendant failed to provide a competent

crew to direct and undertake the work.

31.    As a result of the incident which is the basis of this claim, the Plaintiff suffered injury and

suffered and continues to suffer great pain of body and anguish of mind, inconvenience,

embarrassment, humiliation, anxiety and emotional distress; incurred and continues to incur

medical expenses; lost time and wages from his usual work and pursuits and continues to suffer



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such losses; suffered permanent loss of earning capacity; and suffered and will continue to suffer

other damages as will be shown at trial.

32.      This cause of action is brought under general maritime law for unseaworthiness.

                                 COUNT III
                GENERAL MARITIME LAW - MAINTENANCE AND CURE


33.      The Plaintiff Gabriel Dadzie, reiterates all of the allegations written in all paragraphs

above.

34.      Pursuant to the general maritime law of the United States, U.S.A. is duty bound to

provide to Plaintiff maintenance and cure.

35.      U.S.A. failed to pay to Plaintiff all maintenance and cure due to him.

36.      As a result of the incident which is the basis of this claim, the Plaintiff suffered injury and

suffered and continues to suffer great pain of body and anguish of mind, inconvenience,

embarrassment, humiliation, anxiety and emotional distress; incurred and continues to incur

medical expenses; lost time and wages from his usual work and pursuits and continues to suffer

such losses; suffered permanent loss of earning capacity; and suffered and will continue to suffer

other damages as will be shown at trial.

         WHEREFORE, the Plaintiff, GABRIEL DADZIE, demands judgment against the

Defendant United States of America for damages in excess of the jurisdictional amount for the

aggregate of all claims set forth above, together with all costs incident to this action and pre- and

post-judgment interest.




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                                   GABRIEL DADZIE




                                         /s/ Robert M. Schwartzman, Esquire
                                   By:________________________
                                      Robert M. Schwartzman, Esquire
                                      Attorney at Law
                                      CPF# 8011010339
                                      Schwartzman Law, LLC
                                      2313 Hidden Glen Drive
                                      Owings Mills, MD 21117
                                      Telephone: 410-852-7367
                                      Email: rms@rs-atty.com

                                      Counsel for the Plaintiff


OF COUNSEL:
Brian Beckcom, Esq.
Texas Bar Number 24012268
Jose Calderon, Esq.
Texas Bar Number 24099405
Vujasinovic & Beckcom, PLLC
6363 Woodway St., Suite 400
Houston, TX 77057
Telephone: 713-224-7800
Email: brian@vbattorneys.com
Email: jose@vbattorneys.com




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